             THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     ASHEVILLE DIVISION
           CRIMINAL CASE NO. 2:13-cr-00012-MR-DLH-1


UNITED STATES OF AMERICA,       )
                                )
                   Plaintiff,   )
                                )
         vs.                    )                   ORDER
                                )
                                )
JACKIE LEE RATTLER,             )
                                )
                   Defendant.   )
_______________________________ )


     THIS MATTER is before the Court on the Defendant’s “Motion to Alter

or Amend Judgment” [Doc. 293], which the Court construes as a motion for

reconsideration.

     The Defendant seeks reconsideration of the Court’s August 29, 2015

Order denying the Defendant a reduction of his sentence pursuant to 18

U.S.C. § 3582. [Doc. 248]. The Court is without authority to reconsider the

Order denying the Defendant relief under § 3582. See United States v.

Goodwyn, 596 F.3d 233, 236 (4th Cir. 2010). Even if the Court had such

authority, the Court finds no basis in law to reconsider its prior Order.

Defendant asserts that the Court was incorrect in its prior Order when it

stated that Amendment 782 had already been considered in sentencing the


   Case 2:13-cr-00012-MR-WCM   Document 295    Filed 04/21/17   Page 1 of 2
Defendant. [Doc. 248]. The record is clear, however, that the Defendant was

sentenced on December 16, 2014, and his Judgment was entered on

December 22, 2014. [Doc. 204].            Amendment 782 was effective on

November 1, 2014, before Defendant’s sentencing. In fact, the supplement

to Defendant’s Presentence Report reflects that in light of Amendment 782

that Defendant’s Total Offense Level should be reduced to 31, [Doc. 194],

which reduction was allowed to the Defendant at sentencing. [Doc. 205, Doc

227 at 56]. As such, Defendant’s motion is without any basis in the record

of this case. Accordingly, the Defendant’s motion for reconsideration is

denied.

     IT IS, THEREFORE, ORDERED that the Defendant’s “Motion to Alter

or Amend Judgment” [Doc. 293], which the Court construes as a motion for

reconsideration, is DENIED.

     IT IS SO ORDERED.
                               Signed: April 21, 2017




                                      2



   Case 2:13-cr-00012-MR-WCM   Document 295             Filed 04/21/17   Page 2 of 2
